Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 1 of 20 PagelD #:97

NE

UNITED STATES DISTRICT COURT FI LED
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION JUL 30 2020
JUDGE HARRY D. LEINENWEBER
UNITED STATES OF AMERICA U.S. DISTRICT COURT JUDGE
No. 19 CR 433
Vv.

Judge Harry D. Leinenweber
CALVIN MCDOWELL

PLEA AGREEMENT
Li This Plea Agreement between the United States Attorney for the

Northern District of Illinois, JOHN R. LAUSCH, JR., and defendant CALVIN

MCDOWELL, and his attorney, YELENA DOLGOSHEEVA, is made pursuant to

Rule 11 of the Federal Rules of Criminal Procedure. The parties to this Agreement
have agreed upon the following:

Charge in This Case

2 The superseding information in this case charges defendant with being
a felon in possession of a firearm, in violation of Title 18, United States Code, Section
922(g)(1).

Bi Defendant has read the charge against him contained in the superseding
information, and that charge has been fully explained to him by his attorney.

4. Defendant fully understands the nature and elements of the crime with
which he has been charged.

Charge to Which Defendant Is Pleading Guilty

5. By this Plea Agreement, defendant agrees to enter a voluntary plea of

guilty to the superseding information, which charges defendant with being a felon in
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 2 of 20 PagelD #:98

possession of a firearm, in violation of Title 18, United States Code, Section 922(g)(1).
In addition, as further provided below, defendant agrees to the entry of a forfeiture
judgment.

Factual Basis

6. Defendant will plead guilty because he is in fact guilty of the charge
contained in the superseding information. In pleading guilty, defendant admits the
following facts and that those facts establish his guilt beyond a reasonable doubt, and
establish a basis for forfeiture of the property described elsewhere in this Plea
Agreement:

On or about December 16, 2018, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere, CALVIN MCDOWELL, knowing that he had
previously been convicted of a crime punishable by a term of imprisonment exceeding
one year, did knowingly possess, in and affecting interstate and foreign commerce, a
firearm, namely, a loaded Glock model 23 pistol, bearing serial number EHK617US
(the “firearm”), which firearm had traveled in interstate and foreign commerce prior
to defendant’s possession of the firearm, in violation of Title 18, United States Code,
Section 922(g¢)(1).

Specifically, MCDOWELL possessed the firearm on or about December 16,
2018, while driving a vehicle in Chicago. When Chicago police officers attempted to
make a traffic stop, MCDOWELL drove into an alley located in the 2700 block of West

Crystal Street in Chicago and pulled into a parking space. A responding officer
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 3 of 20 PagelD #:99

observed MCDOWELL reach into the car near the floorboard before he attempted to
restrain him. MCDOWELL subsequently broke free from the officers and fled on foot,
however officers were able to apprehend MCDOWELL in the alley. Officers then
recovered the firearm, which was equipped with an extended ammunition clip
capable of accepting more than 15 rounds of ammunition, from underneath the
driver’s seat of the vehicle. In a recorded telephone call while he was in custody at
Cook County Jail following his arrest, MCDOWELL admitted “I just got bumped with
the Glock 23,” meaning he had been arrested in possession of the firearm.

MCDOWELL acknowledges that the firearm traveled in interstate commerce
before he possessed it, as the firearm was manufactured in Austria and purchased in
Arkansas.

At the time he possessed the firearm, MCDOWELL knew that he had
previously been convicted of a crime punishable by a term of imprisonment exceeding
one year.

7. The foregoing facts are set forth solely to assist the Court in determining
whether a factual basis exists for defendant’s plea of guilty and criminal forfeiture,
and are not intended to be a complete or comprehensive statement of all the facts
within defendant’s personal knowledge regarding the charged crime and related

conduct.
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 4 of 20 PagelD #:100

Maximum Statutory Penalties

8. Defendant understands that the charge to which he is pleading guilty
carries the following statutory penalties:

a. Amaximum sentence of 10 years’ imprisonment. This offense also
carries a maximum fine of $250,000. Defendant further understands that the judge
also may impose a term of supervised release of not more than three years.

b. Pursuant to Title 18, United States Code, Section 3013, defendant
will be assessed $100 on the charge to which he has pled guilty, in addition to any
other penalty imposed.

Sentencing Guidelines Calculations

9. Defendant understands that in determining a sentence, the Court is
obligated to calculate the applicable Sentencing Guidelines range, and to consider
that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. § 3553(a), which include: (i) the nature and
circumstances of the offense and the history and characteristics of the defendant; (ii)
the need for the sentence imposed to reflect the seriousness of the offense, promote
respect for the law, and provide just punishment for the offense, afford adequate
deterrence to criminal conduct, protect the public from further crimes of the
defendant, and provide the defendant with needed educational or vocational training,
medical care, or other correctional treatment in the most effective manner; (111) the

kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 5 of 20 PagelD #:101

among defendants with similar records who have been found guilty of similar
conduct; and (v) the need to provide restitution to any victim of the offense.

10. For purposes of calculating the Sentencing Guidelines, the parties agree
on the following points:

a. Applicable Guidelines. The Sentencing Guidelines to be
considered in this case are those in effect at the time of sentencing. The following
statements regarding the calculation of the Sentencing Guidelines are based on the
Guidelines Manual currently in effect, namely the November 2018 Guidelines
Manual.

b. Offense Level Calculations.

1. The base offense level is 22, pursuant to Guideline
§ 2K2.1(a)(3), because the offense involved a semiautomatic firearm that is capable
of accepting a large capacity magazine, and because defendant committed the offense
after sustaining a felony conviction for a crime of violence punishable by a term of
imprisonment of more than one year, namely, the conviction set out in paragraph
10(c)(viii) below.

ll. Defendant has clearly demonstrated a recognition and
affirmative acceptance of personal responsibility for his criminal conduct. If the
government does not receive additional evidence in conflict with this provision, and
if defendant continues to accept responsibility for his actions within the meaning of

Guideline § 3E1.1(a), including by furnishing the United States Attorney’s Office and
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 6 of 20 PagelD #:102

the Probation Office with all requested financial information relevant to his ability to
satisfy any fine that may be imposed in this case, a two-level reduction in the offense
level is appropriate.

iii. In accord with Guideline § 3E1.1(b), defendant has timely
notified the government of his intention to enter a plea of guilty, thereby permitting
the government to avoid preparing for trial and permitting the Court to allocate its _
resources efficiently. Therefore, as provided by Guideline § 3E1.1(b), if the Court
determines the offense level to be 16 or greater prior to determining that defendant
is entitled to a two-level reduction for acceptance of responsibility, the government
will move for an additional one-level reduction in the offense level.

G Criminal History Category. With regard to determining
defendant’s criminal history points and criminal history category, based on the facts
now known to the government and stipulated below, defendant’s criminal history
points equal 13 and defendant’s criminal history category is VI:

1. On or about April 5, 2006, defendant was convicted of
manufacture/delivery of less than 1 gram of cocaine in the Circuit Court of Cook
County and sentenced to two years’ probation. Defendant receives no criminal history
points for this conviction, pursuant to Guideline § 4A1.2(e).

ll. On or about June 16, 2006, defendant was convicted of

soliciting unlawful business in the Circuit Court of Cook County and sentenced to two
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 7 of 20 PagelD #:103

days’ imprisonment. Defendant receives no criminal history points for this conviction,
pursuant to Guideline § 4A1.2(e).

lil. On or about August 2, 2006, defendant was convicted of
aggravated assault in the Circuit Court of Cook County and sentenced to 60 days’
imprisonment. Defendant receives no criminal history points for this conviction,
pursuant to Guideline § 4A1.2(e).

lv. On or about September 19, 2008, defendant was convicted
of aggravated assault of a police officer in the Circuit Court of Cook County and
sentenced to 8 days’ imprisonment. Defendant receives no criminal history points for
this conviction, pursuant to Guideline § 4A1.2(e).

Vv. On or about March 15, 2010, defendant was convicted of
aggravated DUI in the Circuit Court of Cook County and sentenced to one year of
imprisonment. Defendant receives two criminal history points for this conviction,
pursuant to Guideline § 4A1.1(b).

vi. On or about May 6, 2010, defendant was convicted of
receipt/possession of a stolen vehicle in the Circuit Court of Cook County and
sentenced to three years’ imprisonment. Defendant receives three criminal history
points for this conviction, pursuant to Guideline § 4A1.1(a).

vil. On or about February 3, 2014, defendant was convicted of

theft in the Circuit Court of Cook County and sentenced to 54 months’ imprisonment.
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 8 of 20 PagelD #:104

Defendant receives three criminal history points for this conviction, pursuant to
Guideline § 4A1.1(a).

viii. On or about July 8, 2016, defendant was convicted of
attempted armed robbery in the Circuit Court of Cook County and sentenced to 78
months’ imprisonment. Defendant receives three criminal history points for this
conviction, pursuant to Guideline § 4A1.1(a).

i: Defendant receives two additional criminal history points
for committing the instant offense while under a criminal justice sentence, namely,
the parole imposed in connection with the July 2016 conviction set forth above in
paragraph 9(c)(vili), pursuant to Guideline § 4A1.1(d).

d. Anticipated Advisory Sentencing Guidelines Range.
Therefore, based on the facts now known to the government, the anticipated offense
level is 19 which, when combined with the anticipated criminal history category of
VI, results in an anticipated advisory sentencing guidelines range of 63 to 78 months’
imprisonment, in addition to any supervised release and fine the Court may impose.

e. Defendant and his attorney and the government acknowledge
that the above guidelines calculations are preliminary in nature, and are non-binding
predictions upon which neither party is entitled to rely. Defendant understands that
further review of the facts or applicable legal principles may lead the government to
conclude that different or additional guidelines provisions apply in this case.

Defendant understands that the Probation Office will conduct its own investigation
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 9 of 20 PagelD #:105

and that the Court ultimately determines the facts and law relevant to sentencing,
and that the Court’s determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation
officer’s or the Court’s concurrence with the above calculations, and defendant shall
not have a right to withdraw his plea on the basis of the Court’s rejection of these
calculations.

f, Both parties expressly acknowledge that this Agreement is not
governed by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting
any of the sentencing guidelines may be corrected by either party prior to sentencing.
The parties may correct these errors either by stipulation or by a statement to the
Probation Office or the Court, setting forth the disagreement regarding the applicable
provisions of the guidelines. The validity of this Agreement will not be affected by
such corrections, and defendant shall not have a right to withdraw his plea, nor the
government the right to vacate this Agreement, on the basis of such corrections.

Cooperation
11. Defendant agrees he will fully and truthfully cooperate in any matter in
which he is called upon to cooperate by a representative of the United States
Attorney's Office for the Northern District of Illinois or by a representative of the
Cook County State’s Attorney’s Office. This cooperation shall include providing
complete and truthful information in any investigation and pre-trial preparation and

complete and truthful testimony in any criminal, civil, or administrative proceeding.
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 10 of 20 PagelD #:106

Defendant agrees to the postponement of his sentencing until after the conclusion of
his cooperation.
Agreements Relating to Sentencing

12. At the time of sentencing, the government shall make known to the
sentencing judge the extent of defendant’s cooperation. If the government determines
that defendant has continued to provide full and truthful cooperation as required by
this Agreement, then the government shall move the Court, pursuant to Guideline
§ 5K1.1, to depart downward from the low end of the applicable guideline range, and
shall recommend a sentence that includes a term of imprisonment in the custody of
the Bureau of Prisons of 66 percent of the low end of the applicable guideline range.
Defendant shall be free to recommend any sentence. Defendant understands that the
decision to depart from the applicable guideline range rests solely with the Court.

13. If the government does not move the Court, pursuant to Guideline
§ 5K1.1, to depart from the applicable guideline range, as set forth above, the
preceding paragraph of this Agreement will be inoperative, both parties shall be free
to recommend any sentence, and the Court shall impose a sentence taking into
consideration the factors set forth in 18 U.S.C. § 3553(a) as well as the Sentencing
Guidelines without any downward departure for cooperation pursuant to § 5K1.1.
Defendant may not withdraw his plea of guilty because the government has failed to

make a motion pursuant to Guideline § 5K1.1.

10
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 11 of 20 PagelD #:107

14. It is understood by the parties that the sentencing judge is neither a
party to nor bound by this Agreement and may impose a sentence up to the maximum
penalties as set forth above. Defendant further acknowledges that if the Court does
not accept the sentencing recommendation of the parties, defendant will have no right
to withdvaw his guilty plea.

15. Defendant agrees to pay the special assessment of $100 at the time of
sentencing with a cashier’s check or money order payable to the Clerk of the U.S.
District Court.

16. After sentence has been imposed on the count to which defendant pleads
guilty as agreed herein, the government will move to dismiss the indictment as to
defendant.

Forfeiture

17. Defendant understands that by pleading guilty, he will subject to
forfeiture to the United States all right, title, and interest that he has in any property
involved in the offense.

18. Defendant agrees to forfeiture of the following specific property to the
United States: a Glock model 23 pistol, bearing serial number EHK617US and
associated ammunition. In doing so, defendant admits that the property described
above represents property involved in the offense, as alleged in the superseding
information. Defendant consents to the immediate entry of a preliminary order of

forfeiture as to this specific property, thereby extinguishing any right, title, or

11
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 12 of 20 PagelD #:108

interest defendant has in it. If any of the specific property is not yet in the custody of
the United States, defendant agrees to seizure of that property so that it may be
disposed of according to law.

19. Defendant understands that forfeiture shall not be treated as
satisfaction of any fine, cost of imprisonment, or any other penalty the Court may
impose upon defendant in addition to the forfeiture judgment.

20. Defendant agrees to waive all constitutional, statutory, and equitable
challenges in any manner, including but not limited to direct appeal or a motion
brought under Title 28, United States Code, Section 2255, to any forfeiture carried
out in accordance with this agreement on any grounds, including that the forfeiture
constitutes an excessive fine or punishment. The waiver in this paragraph does not
apply to a claim of involuntariness or ineffective assistance of counsel.

Acknowledgments and Waivers Regarding Plea of Guilty

Nature of Agreement
21. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding defendant's
criminal liability in case 19 CR 433.
22. This Agreement concerns criminal liability only. Except as expressly set
forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial

civil claim, demand, or cause of action it may have against defendant or any other

12
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 13 of 20 PagelD #:109

person or entity. The obligations of this Agreement are limited to the United States
Attorney’s Office for the Northern District of Illinois and cannot bind any other
federal, state, or local prosecuting, administrative, or regulatory authorities, except
as expressly set forth in this Agreement.
Waiver of Rights
23. Defendant understands that by pleading guilty he surrenders certain
rights, including the following:

a. Right to be charged by indictment. Defendant understands
that he has a right to have the charge prosecuted by an indictment returned by a
concurrence of twelve or more members of a grand jury consisting of not less than
sixteen and not more than twenty-three members. By signing this Agreement,
defendant knowingly waives his right to be prosecuted by indictment and to assert at
trial or on appeal any defects or errors arising from the information, the information
process, or the fact that he has been prosecuted by way of information.

b. Trial rights. Defendant has the right to persist in a plea of not
guilty to the charge against him, and if he does, he would have the right to a public
and speedy trial.

1. The trial could be either a jury trial or a trial by the judge
sitting without a jury. However, in order that the trial be conducted by the judge
sitting without a jury, defendant, the government, and the judge all must agree that

the trial be conducted by the judge without a jury.

13
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 14 of 20 PagelD #:110

il. If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney
would participate in choosing the jury by requesting that the Court remove
prospective jurors for cause where actual bias or other disqualification is shown, or
by removing prospective jurors without cause by exercising peremptory challenges.

ili. If the trial is a jury trial, the jury would be instructed that
defendant is presumed innocent, that the government has the burden of proving
defendant guilty beyond a reasonable doubt, and that the jury could not convict him
unless, after hearing all the evidence, it was persuaded of his guilt beyond a
reasonable doubt. The jury would have to agree unanimously before it could return a
verdict of guilty or not guilty.

lv. If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, whether or not the
judge was persuaded that the government had established defendant’s guilt beyond
a reasonable doubt.

Vv. At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.
Defendant would be able to confront those government witnesses and his attorney
would be able to cross-examine them.

vi. At a trial, defendant could present witnesses and other

evidence in his own behalf. If the witnesses for defendant would not appear

14
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 15 of 20 PagelD #:111

voluntarily, he could require their attendance through the subpoena power of the
Court. A defendant is not required to present any evidence.

vil. At a trial, defendant would have a privilege against self-
incrimination so that he could decline to testify, and no inference of guilt could be
drawn from his refusal to testify. If defendant desired to do so, he could testify in his
own behalf.

viii. With respect to forfeiture, defendant understands that if
the case were tried before a jury, he would have a right to retain the jury to determine
whether the government had established the requisite nexus between defendant’s
offense and any specific property alleged to be subject to forfeiture.

é, Waiver of appellate and collateral rights. Defendant further
understands he is waiving all appellate issues that might have been available if he
had exercised his right to trial. Defendant is aware that Title 28, United States Code,
Section 1291, and Title 18, United States Code, Section 3742, afford a defendant the
right to appeal his conviction and the sentence imposed. Acknowledging this, if the
government makes a motion at sentencing for a downward departure pursuant to
Guideline § 5K1.1, defendant knowingly waives the right to appeal his conviction,
any pre-trial rulings by the Court, and any part of the sentence (or the manner in
which that sentence was determined), including any term of imprisonment and fine
within the maximums provided by law, and including any order of forfeiture, in

exchange for the concessions made by the United States in this Agreement. In

15
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 16 of 20 PagelD #:112

addition, if the government makes a motion at sentencing for a downward departure
pursuant to Guideline § 5K1.1 and 18 U.S.C. § 3553(e), defendant also waives his
right to challenge his conviction and sentence, and the manner in which the sentence
was determined, in any collateral attack or future challenge, including but not limited
to a motion brought under Title 28, United States Code, Section 2255. The waiver in
this paragraph does not apply to a claim of involuntariness or ineffective assistance
of counsel, nor does it prohibit defendant from seeking a reduction of sentence based
directly on a change in the law that is applicable to defendant and that, prior to the
filing of defendant’s request for relief, has been expressly made retroactive by an Act
of Congress, the Supreme Court, or the United States Sentencing Commission.

24. Defendant understands that by pleading guilty he is waiving all the
rights set forth in the prior paragraphs. Defendant’s attorney has explained those
rights to him, and the consequences of his waiver of those rights.

Presentence Investigation Report/Post-Sentence Supervision

25. Defendant understands that the United States Attorney’s Office in its
submission to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant’s conduct regarding the charge against him,
and related matters. The government will make known all matters in aggravation
and mitigation relevant to sentencing, including the nature and extent of defendant’s

cooperation.

16
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 17 of 20 PagelD #:113

26. Defendant agrees to truthfully and completely execute a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and
shared among the Court, the Probation Office, and the United States Attorney’s
Office regarding all details of his financial circumstances, including his recent income
tax returns as specified by the probation officer. Defendant understands that
providing false or incomplete information, or refusing to provide this information,
may be used as a basis for denial of a reduction for acceptance of responsibility
pursuant to Guideline § 3E1.1 and enhancement of his sentence for obstruction of
justice under Guideline § 3C1.1, and may be prosecuted as a violation of Title 18,
United States Code, Section 1001 or as a contempt of the Court.

27. For the purpose of monitoring defendant’s compliance with his
obligations to pay a fine during any term of supervised release or probation to which
defendant is sentenced, defendant further consents to the disclosure by the IRS to
the Probation Office and the United States Attorney’s Office of defendant’s individual
income tax returns (together with extensions, correspondence, and other tax
information) filed subsequent to defendant’s sentencing, to and including the final
year of any period of supervised release or probation to which defendant is sentenced.
Defendant also agrees that a certified copy of this Agreement shall be sufficient
evidence of defendant’s request to the IRS to disclose the returns and return

information, as provided for in Title 26, United States Code, Section 6103(b).

17
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 18 of 20 PagelD #:114

Other Terms

28. Defendant agrees to cooperate with the United States Attorney’s Office
in collecting any unpaid fine for which defendant is liable, including providing
financial statements and supporting records as requested by the United States
Attorney’s Office.

29. Defendant understands that, if convicted, a defendant who is not a
United States citizen may be removed from the United States, denied citizenship, and
denied admission to the United States in the future.

Conclusion

30. Defendant understands that this Agreement will be filed with the Court,
will become a matter of public record, and may be disclosed to any person.

31. Defendant understands that his compliance with each part of this
Agreement extends throughout the period of his sentence, and failure to abide by any
term of the Agreement is a violation of the Agreement. Defendant further
understands that in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering it null and void, and thereafter
prosecute defendant not subject to any of the limits set forth in this Agreement, or
may move to resentence defendant or require defendant’s specific performance of this
Agreement. Defendant understands and agrees that in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of

its terms and the government elects to void the Agreement and prosecute defendant,

18
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 19 of 20 PagelD #:115

any prosecutions that are not time-barred by the applicable statute of limitations on
the date of the signing of this Agreement may be commenced against defendant in
accordance with this paragraph, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement of such
prosecutions.

32. Should the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

33. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth
in this Agreement, to cause defendant to plead guilty.

34. Defendant acknowledges that he has read this Agreement and carefully
reviewed each provision with his attorney. Defendant further acknowledges that he
understands and voluntarily accepts each and every term and condition of this

Agreement.

AGREED THIS DATE:

JOHN R. LAUSCH, JR. CALVIN MCDOWELL
United States Attorney Defendant

JAMES P. DURKIN YELENA DOLGOSHEEVA
Assistant U.S. Attorney Attorney for Defendant

19
Case: 1:19-cr-00433 Document #: 44 Filed: 07/30/20 Page 20 of 20 PagelD #:116

any prosecutions that are not time-barred by the applicable statute of limitations on
the date of the signing of this Agreement may be commenced against defendant in
accordance with this paragraph, notwithstanding the expiration of the statute of
limitations between the signing of this Agreement and the commencement of such
prosecutions,

32. Ghould the judge refuse to accept defendant’s plea of guilty, this
Agreement shall become null and void and neither party will be bound to it.

33. Defendant and his attorney acknowledge that no threats, promises, or
representations have been made, nor agreements reached, other than those set forth
in this Agreement, to cause defendant to plead guilty.

34, Defendant acknowledges that he has read this Agreement and carefully
reviewed each provision with his attorney. Defendant further acknowledges that he

understands and voluntarily accepts each and every term and condition of this

Agreement.

AGREED THIS DATE: __/ | w 2020

py

Dial : .

LI N DSAY Diary signed by LINDSAY ‘ Cf
J EN KI N S wo 13:35:48 .

JOHN R. LAUSCH, JR. VIN MCDOWELL
United States Attorney Defendant
j
Hence bo
GAMES P. DURKIN NA DOLGOSHEEVA
Assistant U.S. Attorney Attorney for Defendant

19

